                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                     8:21CR264

     vs.
                                                                 TRIAL ORDER
ALFREDO ESCOBAR,

                    Defendant.


1.   TRIAL DATE

     Trial in this matter is set on December 21, 2021 at 9:00 a.m. in Courtroom No. 5, Roman
     L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska 68102.
     Because this is a criminal case, the defendant(s) must be present in person.

2.   PRETRIAL MOTIONS

     A.     Pretrial Motions Generally:

            All pretrial motions must follow the deadlines and procedure set forth in NECrimR
            12.3.

     B.     Continuance:

            Motions to continue trial must be submitted in accordance with the requirements of
            NECrimR 12.1. Motions to continue trial are referred to the magistrate judge for
            decision. The motion shall state that the defendant was advised by the defense
            attorney of the reasons for seeking a continuance.

     C.     Evidentiary Hearings:

            Please notify my chambers immediately of any pretrial motion requiring an
            evidentiary hearing outside the presence of the jury. If a party requests a hearing
            that takes place in advance of trial, the request must follow the requirements of
            NECrimR 12.3(b)(4).

3.   PRETRIAL SUBMISSIONS

     A.     At least seven (7) days before the first day scheduled for trial, counsel for the
            government shall electronically file the following documents with the Clerk of the
            Court by government’s counsel:
          i.     Trial brief
          ii.    Witness list
          iii.   Exhibit list
          iv.    Proposed jury instructions and verdict form(s)

          In addition to electronically filing the documents, a copy of the government’s
          jury instructions, verdict form(s), witness list, and exhibit list shall be e-mailed
          as attachments in Word format to the chambers at the following address:
          Buescher@ned.uscourts.gov.

     B.   The defendant is encouraged to submit proposed jury instructions, a verdict form(s),
          a witness list, and an exhibit list to the judge’s chambers as well via email at
          Buescher@ned.uscourts.gov. The materials submitted by the defendant(s) shall not
          be disclosed to the government unless the defendant specifies otherwise.

4.   DISCOVERY MATERIAL

     A.   Depositions:

          Proponent: The proponent of a deposition to be used at trial shall deliver a copy
          of the deposition to the judge’s chambers and to opposing counsel at least seven
          days before trial. If less than the entire deposition will be offered, the proponent
          shall deliver: (1) a list or index designating by page and line(s) the testimony to be
          offered, and (2) a copy of the entire deposition with highlighted parts to be offered.

          Objections: A list or index of objections to another party’s designated deposition
          testimony shall be delivered to the judge’s chambers before trial and shall identify
          by page and line the location of the objection and shall identify the precise nature
          of the objection.

     B.   Videotaped Depositions:

          Proponent: Videotaped depositions shall be delivered to the judge’s chambers and
          to opposing counsel as stated in the previous paragraph. The proponent shall
          provide a transcript with the prospective testimony indexed and highlighted as
          stated in the previous paragraph.

          Objections: A list or index of objections to another party’s designated videotaped
          testimony shall be delivered to the judge’s chambers as stated in paragraph 3.A.
          The Court may require editing of the video tape in response to pretrial rulings on
          objections.

5.   EXHIBITS

     A.   Court’s Copies:



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             Each proponent of exhibits shall prepare a three-ring binder containing a copy of
             each exhibit to be offered. The binder shall be organized by dividers and tabs for
             quick retrieval of an exhibit during trial, and shall be delivered to chambers no later
             than five days before the scheduled date of trial.

     B.      Original Exhibits:
             Exhibits shall be properly listed and identified on the exhibit form which can be
             found at https://www.ned.uscourts.gov/forms.

     C.      Marking of Exhibits:
             Exhibits must be numbered in accordance with NECrimR 12.7. Specifically, all
             exhibits must be pre-marked with stickers that indicate whether the government or
             the defendant is offering the exhibit. The government’s exhibits will begin with
             number “1.” Defendant’s exhibits will begin with the three-digit number rounded
             to the next hundred after the government’s last exhibit.

6.   WITNESS LIST

     A party’s witness list shall include the full name and address for each such witness.
     Witnesses who do not appear to testify when scheduled will be considered withdrawn. To
     avoid redaction issues, witnesses should be instructed not to give their exact addresses
     during trial.

7.   REQUESTS FOR INTERPRETERS OR COURTROOM EQUIPMENT

     Requests for the services of a court interpreter should follow the deadlines set forth in
     NECrimR 28.2. Please notify the courtroom deputy at least fourteen days in advance of
     the first scheduled day of trial if the services of an interpreter will be required for the trial.

     Please notify the courtroom deputy before trial if you plan to use the evidence presentation
     equipment and if you need to schedule a time for training or practice with the equipment.
     More         information       is       available         on         the       web         at
     https://www.ned.uscourts.gov/attorney/courtroom-technology.

8.   CONDUCT AT TRIAL

     I will meet with counsel in chambers at 8:30 a.m. on the first day of trial. Trial will
     commence at 9:00 a.m. each day, unless otherwise ordered. The Court will conduct a
     general voir dire examination. Counsel may supplement, but not repeat, the Court’s voir
     dire examination. Any suggested questions for voir dire by the Court shall be delivered to
     the judge’s chambers prior to commencement of trial. The Court may impose a time limit
     on counsels’ voir dire. Examination of witnesses will be by direct, cross, and redirect
     examination. There will be no recross unless authorized by the Court.

9.   PLEA



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It is the responsibility of the counsel for all parties to notify the Court immediately of any
change of plea. By noon on the Friday before trial is scheduled to occur, counsel for all
parties shall contact the judge’s chambers to receive instructions regarding how to contact
the Court when the Court is not open for business.

SO ORDERED.

       Dated this 15th day of November 2021.

                                               BY THE COURT:




                                               Brian C. Buescher
                                               United States District Judge




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